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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 20-80049-CR-MARRA


 UNITED STATES OF AMERICA

 vs.

 LEONARD SHEMTOB and
 STRONG SUPPLEMENTS, LLC,

             Defendants.
 ___________________________________/

                  NOTICE OF RELATED ACTION, LOCAL RULE 3.8

        The United States of America, through undersigned counsel, respectfully files this Notice

 of Related Action, pursuant to Local Rule 3.8, which provides that attorneys shall bring promptly

 to the attention of the Court and opposing counsel the existence of other actions or proceeding as

 described in Section 2.15.00 of the Court’s Internal Operating Procedures (“IOP”). Counsel for

 defendants Shemtob and Strong Supplements, LLC has reviewed this pleading and does not

 oppose transfer pursuant to the Local Rules.

        IOP section 2.15.00 provides that whenever an action is filed in the Court that involves

 subject matter which is a material part of the subject matter of another action pending before the

 Court “or for other reasons the disposition thereof would appear to entail the unnecessary

 duplication of judicial labor if heard by a different Judge,” the Judges involved in the actions “shall

 determine whether the higher-numbered action or proceeding shall be transferred to the Judge

 assigned to the lower-numbered action.”

        On March 7, 2019, a Grand Jury, sitting in Miami, returned an indictment against Phillip

 Braun, Blackstone Labs, LLC (“Blackstone Labs”), five other individuals, and a second limited



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 liability corporation (“the Braun case”). The case was assigned to Judge Dimitrouleas under case

 number 19-80030-CR. Count 4 of the indictment charged Braun, Aaron Singerman, Blackstone

 Labs, and co-defendants with conspiring to distribute controlled substances, e.g., anabolic steroids,

 in violation of 21 U.S.C. § 846. The case is set for trial on October 26, 2020.

        On June 19, 2020, the United States filed an information against Leonard Shemtob and

 Strong Supplements, LLC (“Strong Supplements”). The case was assigned to Judge Marra under

 case number 20-80049-CR.        The information charged that defendants Shemtob and Strong

 Supplements conspired with defendants in the Braun case — Braun, Aaron Singerman, and

 Blackstone Labs — to distribute controlled substances, in violation of 21 U.S.C. § 846. The

 conspiracy charged in case number 20-80049-CR involved three of the same anabolic steroids

 alleged in Count 4 of the Braun case.

        The subject matter of Case No. 20-80049-CR is a material part of Count 4 of the Braun

 case. In other words, the later-filed case charges essentially the same drug conspiracy as was

 charged in Count 4 of the indictment returned last year.

        Further, in the Braun case, the conspiracy to distribute controlled substances included the

 allegation that serious bodily injury resulted to C.H. from the use of a specific anabolic steroid.

 See Case No. 19-80030-CR-WPD, Indictment, ECF No. 1, at 19. The product alleged to have

 resulted in serious bodily injury to C.H. was sold by Blackstone Labs to defendant Strong

 Supplements, and C.H. then purchased the product from Strong Supplements. Accordingly, there

 is significant factual overlap between this case and the Braun case, and the Shemtob/Strong

 Supplements subject matter is undoubtedly material to the Braun case.

        It would be judicially expedient for Judge Dimitrouleas to hear the newly filed case against

 Shemtob and Strong Supplements insofar as Judge Dimitrouleas has already expended



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 considerable judicial resources in connection with the earlier-filed Braun case, No. 19-80030-CR,

 and is familiar with many of the underlying facts and legal issues that both cases share.

        In conclusion, consistent with Local Rule 3.8 and IOP 2.15.00 and to avoid unnecessary

 duplication of judicial labor, the government respectfully requests that the Court confer with Judge

 Dimitrouleas to decide whether a transfer of the present case to Judge Dimitrouleas would be

 appropriate. Government counsel has conferred with Daniel Behesnilian, counsel for defendants

 Shemtob and Strong Supplements, and he does not oppose such a transfer.



 DATED: June 24, 2020

                                                      Respectfully submitted,

                                                      ARIANA FAJARDO ORSHAN
                                                      UNITED STATES ATTORNEY

                                                      GUSTAV W. EYLER
                                                      DIRECTOR
                                                      CONSUMER PROTECTION BRANCH
                                                      U.S. DEPARTMENT OF JUSTICE


                                                              /s/ Alistair Reader
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on June 24, 2020, a copy of the foregoing document was filed
 electronically with the Clerk of the Court by way of the CM/ECF system. Notice of this filing will
 be sent to all counsel of record by operation of the CM/ECF system. Parties may access this filing
 through the CM/ECF system. An electronic copy of the filing will also be provided to defense
 counsel Daniel Behesnilian, Esq. via email.


                                                             /s/ Alistair Reader
                                                     Alistair F. A. Reader
                                                     Trial Attorney
                                                     U.S. Department of Justice




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